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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                 Eastern Division

John A. Scatchell
                                       Plaintiff,
v.                                                        Case No.: 1:20−cv−01045
                                                          Honorable Gary Feinerman
Villlage of Melrose Park, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 12, 2020:


        MINUTE entry before the Honorable Gary Feinerman:Pursuant to Paragraph 3 of
Third Amended General Order 20−0012, the 5/20/2020 status hearing [26] is stricken and
re−set to 7/6/2020 9:00 a.m. In the meantime, if any party wishes to present a procedural
matter to the court, the party should send an email to the Courtroom Deputy
(Jackie_Deanes@ilnd.uscourts.gov) and the proposed order email box
(Proposed_Order_Feinerman@ilnd.uscourts.gov), with a copy to all counsel and pro se
parties, and the court will respond as soon as practicable. If any party wishes to extend,
shorten, or revoke in a particular case an extension granted by Paragraph 2 of the Third
Amended General Order or any prior iteration of General Order 20−0012, the party should
file a motion on the case docket pursuant to Paragraph 2.c of the Third Amended General
Order, and shall indicate therein whether the motion is agreed or opposed. If any party
believes that a telephonic hearing is necessary before 6/1/2020, the party should file a
motion under Paragraph 3 of the Third Amended General Order. Parties may file
non−emergency motions on the case docket as they see fit. Emergency relief in any case,
or emergency relief from the Third Amended General Order, should be sought in the
manner set forth in Paragraphs 7−8 of the Third Amended General Order.Mailed
notice.(jlj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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